
ON APPLICATION FOR ADMISSION TO THE BAR.
PER CURIAM.
After reviewing the evidence and considering the law, we conclude petitioner, Kelly N. Caldwell, is eligible to be conditionally admitted to the practice of law in Louisiana, subject to a probationary period of one year. During this period, petitioner shall provide evidence to the Committee on Bar Admissions, on at least a quarterly basis, demonstrating that he has made a good faith effort to satisfy his financial obligations. Should petitioner fail to make a good faith effort to satisfy his financial obligations, or should he commit any misconduct during the period of probation, his conditional right to practice may be terminated or he may be subjected to other discipline pursuant to the Rules for Lawyer Disciplinary Enforcement.
*986CONDITIONAL ADMISSION GRANTED.
TRAYLOR, J., would deny.
